                    Case 20-04264            Doc 1       Filed 02/14/20 Entered 02/14/20 17:00:52                              Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Oral Health America

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  180 N. Michigan Ave.                                            2655 Millersport Hwy
                                  Suite 1150                                                      PO Box 865
                                  Chicago, IL 60601                                               Getzville, NY 14068
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Cook                                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                  * Through February 2019.                                        Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.oralhealthamerica.com; www.oha-chi.org


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Oral Health America                                                                          Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 8133

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




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Debtor   Oral Health America                                                                       Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Oral Health America                                                                      Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      February 14, 2020
                                                  MM / DD / YYYY


                             X   /s/ Fotinos Panagakos                                                    Fotinos Panagakos
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Treasurer




18. Signature of attorney    X   /s/ N. Neville Reid                                                       Date February 14, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 N. Neville Reid
                                 Printed name

                                 Fox Swibel Levin & Carroll LLP
                                 Firm name

                                 200 W. Madison St.
                                 Suite 3000
                                 Chicago, IL 60606
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (312) 224-1200                Email address      nreid@foxswibel.com

                                 6195837 IL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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 Fill in this information to identify the case:

 Debtor name         Oral Health America

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          February 14, 2020                       X /s/ Fotinos Panagakos
                                                                       Signature of individual signing on behalf of debtor

                                                                       Fotinos Panagakos
                                                                       Printed name

                                                                       Treasurer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name            Oral Health America

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           882,000.79

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           882,000.79


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           950,998.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             950,998.00




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         Oral Health America

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Chase Bank                                              Operating Account               4261                                             $0.00




           3.2.     Chase Bank                                              Money Market                    9587                                             $5.36



 4.        Other cash equivalents (Identify all)
                    Chase Bank Restricted Reserve Account #1008

           4.1.     See Addendum Attached.                                                                                                        $870,242.43




 5.        Total of Part 1.                                                                                                                   $870,247.79
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor         Oral Health America                                                           Case number (If known)
                Name


        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Desks, chairs, file cabinets                                                 $7,925.00    Judgmental-Aband                             $0.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Laptop computers (in storage facility)                                     $19,361.00     Judgmental (25%)                       $4,840.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                $4,840.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 2
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 Debtor         Oral Health America                                                           Case number (If known)
                Name

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and          Net book value of        Valuation method used     Current value of
            property                                      extent of           debtor's interest        for current value         debtor's interest
            Include street address or other               debtor's interest   (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1.
                     Leasehold
                     improvements                                                     $11,623.00       Judgmental-Aband                              $0.00




 56.        Total of Part 9.                                                                                                                     $0.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
                No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of        Valuation method used      Current value of
                                                                              debtor's interest        for current value          debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            "Oral Health America" "Campaign For Oral
            Health Equity" "Smiles Across America"
            "Wisdom Tooth Project" "Tooth Wisdom: Get
            Smart About Your Mouth" "A State Of Decay"                                 Unknown                                                       $0.00



 61.        Internet domain names and websites
            oralhealthamerica.org, oha-chi.org,
            toothwisdom.org                                                            Unknown                                                       $0.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                       page 3
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 Debtor         Oral Health America                                                           Case number (If known)
                Name




 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations
            Donor list and Oral Health partner list                                       Unknown                                                     $0.00



 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                                      $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                                    Current value of
                                                                                                                                    debtor's interest


 71.        Notes receivable
            Description (include name of obligor)
                                                                               6,913.00 -                                  0.00 =
            Thomas Mesich                                             Total face amount     doubtful or uncollectible amount                    $6,913.00



 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

            Whiteley Memorial Foundation                                                                                                        Unknown



 77.        Other property of any kind not already listed Examples: Season tickets,

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                       page 4
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 Debtor         Oral Health America                                                          Case number (If known)
                Name

           country club membership

 78.       Total of Part 11.                                                                                                   $6,913.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                         page 5
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 Debtor          Oral Health America                                                                                 Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $870,247.79

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                            $4,840.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                    $6,913.00

 91. Total. Add lines 80 through 90 for each column                                                            $882,000.79           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $882,000.79




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 6
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Addendum to Form 206 A/B-Question 4.1:


The amounts reflected here are identified as “restricted” because the Debtor has historically treated the
accounts pursuant to donor-imposed restrictions on the accounts, and the accounts may be subject to
Illinois charitable trust law restricting uses of the funds for general purposes. Furthermore, certain
parties have informed the Debtor that they claim ownership of certain of the funds on deposit at Chase
as trust funds held for their benefit. Upon the analysis and advice of its special counsel, the Debtor does
not take a position as to whether the Chase funds are not property of the bankruptcy estate, nor
whether specific third parties may have a successor or other interest in the Chase funds, but instead
defers to the judgment of the Illinois Attorney General, who is entitled to notice of the bankruptcy
petition under 760 ILCS 55/15.5, the bankruptcy trustee, and the Bankruptcy Court as to the final
resolution of such ownership issues.
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 Fill in this information to identify the case:

 Debtor name         Oral Health America

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                       page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Oral Health America

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)
                                                                                                                                                     Check if this is an
                                                                                                                                                     amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $4,240.00
           A.G. Kaffes & Associates LLC                                         Contingent
           1909 Q Street NW, Suite 400                                          Unliquidated
           Washington, DC 20009                                                 Disputed
           Date(s) debt was incurred 01/15/19
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $9,000.00
           Arizona Board of Regents, Universit                                  Contingent
           Cochise Cty. Cooperative Extension                                   Unliquidated
           1140 N. Colombo Ave.                                                 Disputed
           Sierra Vista, AZ 85635
                                                                             Basis for the claim:
           Date(s) debt was incurred 08/03/18-09/14/18
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                       $69.78
           Arkadin, Inc.                                                        Contingent
           Attn: Accounts Receivable                                            Unliquidated
           P.O. Box 347261                                                      Disputed
           Pittsburgh, PA 15251
                                                                             Basis for the claim:
           Date(s) debt was incurred 08/03/18-09/28/19
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $1,487.50
           Better Business Bureau                                               Contingent
           330 N. Wabash Ave. Ste. 3120                                         Unliquidated
           Chicago, IL 60611                                                    Disputed
           Date(s) debt was incurred 04/06/18
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes




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 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $11,304.80
          Blackbaud, Inc.                                                       Contingent
          P.O. Box 930256                                                       Unliquidated
          Atlanta, GA 31193                                                     Disputed
          Date(s) debt was incurred  11/30/18-01/23/19                       Basis for the claim:
          Last 4 digits of account number 0653
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $130,000.00
          Board of Regents NSHE                                                 Contingent
          4505 Maryland Parkway, Box 451055                                     Unliquidated
          Las Vegas, NV 89155                                                   Disputed
          Date(s) debt was incurred 08/28/18-12/31/18
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $50,218.99
          Chase Bank                                                            Contingent
          10 N. Dearborn St.                                                    Unliquidated
          Chicago, IL 60603                                                     Disputed
          Date(s) debt was incurred      10/30/18-02/28/19                   Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,580.00
          Child Care Exchange                                                   Contingent
          Dimensions Educational Research Fdn                                   Unliquidated
          7700 A Street                                                         Disputed
          Lincoln, NE 68510
                                                                             Basis for the claim:
          Date(s) debt was incurred 09/05/18-11/05/18
          Last 4 digits of account number 3875                               Is the claim subject to offset?     No       Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $19,000.00
          Children's Dental Services                                            Contingent
          636 Broadway St. , NE                                                 Unliquidated
          Minneapolis, MN 55413                                                 Disputed
          Date(s) debt was incurred 08/03/19-09/19/18
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $250.00
          Children's Leadership Council                                         Contingent
          1200 18th ST. NW Suite 400                                            Unliquidated
          Washington, DC 20036                                                  Disputed
          Date(s) debt was incurred 08/07/18-12/31/18
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $10,000.00
          Collier Health Services Inc.,                                         Contingent
          BDA Healthcare Network of SWFL                                        Unliquidated
          3555 Kraft Road, Suite 100                                            Disputed
          Naples, FL 34105
                                                                             Basis for the claim:
          Date(s) debt was incurred 12/31/18
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,557.10
          Comcast                                                               Contingent
          P.O. Box 3001                                                         Unliquidated
          Southeastern, PA 19398-3001                                           Disputed
          Date(s) debt was incurred 11/15/18-01/15/19
                                                                             Basis for the claim:
          Last 4 digits of account number 6550
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $5,500.00
          Crescendo Interactive, Inc.                                           Contingent
          110 Camino Ruiz                                                       Unliquidated
          Camarillo, CA 93012                                                   Disputed
          Date(s) debt was incurred 11/07/18-12/31/18
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,039.50
          CT Corporation                                                        Contingent
          P.O. Box 4349                                                         Unliquidated
          Carol Stream, IL 60197                                                Disputed
          Date(s) debt was incurred 08/29/18-09/01/18
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $58.69
          Cyndi Schu                                                            Contingent
          5633 N. Prospect Ave.                                                 Unliquidated
          Chicago, IL 60631                                                     Disputed
          Date(s) debt was incurred 12/05/18-12/10/18
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,444.86
          De Lage Landen Financial Services                                     Contingent
          P.O. Box 41602                                                        Unliquidated
          Philadelphia, PA 19101-1602                                           Disputed
          Date(s) debt was incurred 11/20/18-01/20/19
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $6,210.27
          DiMeo Schneider & Asscociates, LLC                                    Contingent
          Attn: Accounts Receviable                                             Unliquidated
          500 W. Madison St., Suite 1700                                        Disputed
          Chicago, IL 60661
                                                                             Basis for the claim:
          Date(s) debt was incurred 09/13/18-12/31/18
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $5,349.60
          Entara Corporation                                                    Contingent
          190 S. LaSalle St., Suite 3800                                        Unliquidated
          Chicago, IL 60603                                                     Disputed
          Date(s) debt was incurred 11/01/18-01/01/19
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $924.53
          Euclid Managers                                                       Contingent
          234 Spring Lake Drive                                                 Unliquidated
          Itasca, IL 60143                                                      Disputed
          Date(s) debt was incurred 12/16/18-12/31/18
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,046.00
          Frost Chicago                                                         Contingent
          830 W. 40th Street                                                    Unliquidated
          Chicago, IL 60609                                                     Disputed
          Date(s) debt was incurred      10/25/18                            Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $10,000.00
          Future Smiles                                                         Contingent
          3074 Arville Street                                                   Unliquidated
          Las Vegas, NV 89102                                                   Disputed
          Date(s) debt was incurred      09/19/18                            Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $10,000.00
          Healthy Smiles Mobile                                                 Contingent
          Dental Foundation                                                     Unliquidated
          4186 West Swift Ave., #108                                            Disputed
          Fresno, CA 93722
                                                                             Basis for the claim:
          Date(s) debt was incurred 09/19/18
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $524.10
          Innovative Neworks LLC                                                Contingent
          55 East Jackson Blvd. Ste 415                                         Unliquidated
          Chicago, IL 60604                                                     Disputed
          Date(s) debt was incurred 08/15/18 - 01/15/19
                                                                             Basis for the claim:
          Last 4 digits of account number 3427
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,564.90
          iWave                                                                 Contingent
          28 Hillstrom Avenue                                                   Unliquidated
          Charlottetown, PE                                                     Disputed
          Canada C1E 2C5
                                                                             Basis for the claim:
          Date(s) debt was incurred      11/02/18
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,232.00
          Key Analytics and Consulting, LLC                                     Contingent
          P.O. Box 357724                                                       Unliquidated
          Gainesville, FL 32635                                                 Disputed
          Date(s) debt was incurred 12/03/18-01/28/19
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $10,000.00
          Kids Smiles, Inc.                                                     Contingent
          512 Township Line Road                                                Unliquidated
          3 Valley Square Suite 301                                             Disputed
          Blue Bell, PA 19422
                                                                             Basis for the claim:
          Date(s) debt was incurred 12/31/18
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $9,000.00
          Kids Smiles, Inc.                                                     Contingent
          512 Township Line Road                                                Unliquidated
          3 Valley Square Suite 301                                             Disputed
          Blue Bell, PA 19422
                                                                             Basis for the claim:
          Date(s) debt was incurred 08/03/18-09/14/18
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $9,000.00
          KinderSmile Foundation                                                Contingent
          10 Broad Street                                                       Unliquidated
          Bloomfield, NJ 07003                                                  Disputed
          Date(s) debt was incurred 08/03/18-09/14/18
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $193.35
          Liz Kelly                                                             Contingent
          3647 N. Bosworth Ave.                                                 Unliquidated
          Chicago, IL 60613                                                     Disputed
          Date(s) debt was incurred 12/28/18
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $20.39
          Lori Gross                                                            Contingent
          9725 S. Pulaski Rd.                                                   Unliquidated
          Evergreen Park, IL 60805                                              Disputed
          Date(s) debt was incurred 12/04/18
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $203,213.94
          Marketing for Change Co.                                              Contingent
          117 S. Gadsden Street                                                 Unliquidated
          Tallahassee, FL 32301                                                 Disputed
          Date(s) debt was incurred 08/01/18-12/31/18
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $405.00
          Matthew Warren                                                        Contingent
          5410 W. Main St.                                                      Unliquidated
          P.O. Box 261                                                          Disputed
          Monee, IL 60449
                                                                             Basis for the claim:
          Date(s) debt was incurred      10/30/18
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,000.00
          Metropolitan Area Agency on Aging                                     Contingent
          2365 North McKnight Road                                              Unliquidated
          Saint Paul, MN 55109                                                  Disputed
          Date(s) debt was incurred 12/04/18
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $34,610.96
          Michigan - 180 Property LLC                                           Contingent
          c/o Marc Realty                                                       Unliquidated
          75 Remittance Drive, Suite 1852                                       Disputed
          Chicago, IL 60675-1852
                                                                             Basis for the claim:
          Date(s) debt was incurred 11/20/18-02/01/19
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $325.00
          Morgan Birge & Associates, Inc.                                       Contingent
          119 West Hubbard Street, Suite 4W                                     Unliquidated
          Chicago, IL 60654                                                     Disputed
          Date(s) debt was incurred 09/21/18-01/23/19
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $18,000.00
          Oral Health Forum                                                     Contingent
          P.O. Box 35129                                                        Unliquidated
          Elmwood Park, IL 60707                                                Disputed
          Date(s) debt was incurred 08/03/18-09/14/18
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $10,000.00
          Paramount Technologies, Inc.                                          Contingent
          1374 East West Maples Road                                            Unliquidated
          Walled Lake, MI 48390-3765                                            Disputed
          Date(s) debt was incurred 10/16/18-12/31/18
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $548.26
          Pitney Bowes                                                          Contingent
          Global Financial Services LLC                                         Unliquidated
          P.O. Box 371887                                                       Disputed
          Pittsburgh, PA 15250-7887
                                                                             Basis for the claim:
          Date(s) debt was incurred 09/01/18-01/05/19
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,100.00
          Prairie State College, Dental Hygie                                   Contingent
          202 S. Halsted Street                                                 Unliquidated
          Chicago Heights, IL 60411                                             Disputed
          Date(s) debt was incurred 12/04/18
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,810.08
          Premier Print Group                                                   Contingent
          3104 Farber Drive                                                     Unliquidated
          Champaign, IL 61822                                                   Disputed
          Date(s) debt was incurred      09/26/18-11/30/18                   Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $383.51
          ReadyRefresh by Nestle                                                Contingent
          P.O. Box 856680                                                       Unliquidated
          Louisville, KY 40285                                                  Disputed
          Date(s) debt was incurred 09/24/18-12/14/18
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,879.13
          Reliance Standard Life Insurance Co                                   Contingent
          P.O. Box 3124                                                         Unliquidated
          Southeastern, PA 19398-3125                                           Disputed
          Date(s) debt was incurred 12/01/18-01/01/19
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $10,000.00
          RMHC of Bismarck, ND                                                  Contingent
          Care Mobile of North Dakota                                           Unliquidated
          P.O. Box 7323                                                         Disputed
          Bismarck, ND 58507
                                                                             Basis for the claim:
          Date(s) debt was incurred 12/31/18
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $10,000.00
          Ronald McDonald House                                                 Contingent
          Charities of Arkansas                                                 Unliquidated
          1501 W. 10th St.                                                      Disputed
          Little Rock, AR 72202
                                                                             Basis for the claim:
          Date(s) debt was incurred 12/31/18
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $10,000.00
          Ronald McDonald House                                                 Contingent
          Charities Bay Area                                                    Unliquidated
          520 Sand Hill Road                                                    Disputed
          Palo Alto, CA 94304
                                                                             Basis for the claim:
          Date(s) debt was incurred 12/31/18
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $10,000.00
          Ronald McDonald House                                                 Contingent
          Charities in Omaha, Inc.                                              Unliquidated
          620 South 38th Avenue                                                 Disputed
          Omaha, NE 68105
                                                                             Basis for the claim:
          Date(s) debt was incurred 12/31/18
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $10,000.00
          Ronald McDonald House                                                 Contingent
          Charities of Eastern New England                                      Unliquidated
          3 Industrial Drive, Unit 6                                            Disputed
          Windham, NH 03087
                                                                             Basis for the claim:
          Date(s) debt was incurred 12/31/18
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $10,000.00
          Ronald McDonald House                                                 Contingent
          Charities of Greater Las Vegas                                        Unliquidated
          2323 Postosi Street                                                   Disputed
          Las Vegas, NV 89146
                                                                             Basis for the claim:
          Date(s) debt was incurred 12/31/18
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $10,000.00
          Ronald McDonald House                                                 Contingent
          Charities of Greater Houston/Galves                                   Unliquidated
          2525 Robinhood, Suite 1100                                            Disputed
          Houston, TX 77005
                                                                             Basis for the claim:
          Date(s) debt was incurred 12/31/18
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $10,000.00
          Ronald McDonald House                                                 Contingent
          Charities Burlington, VT                                              Unliquidated
          16 South Winooski Avenue                                              Disputed
          Burlington, VT 05401
                                                                             Basis for the claim:
          Date(s) debt was incurred 12/31/18
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $201,585.00
          Ronald McDonald House Charities                                       Contingent
          110 N. Carpenter St.                                                  Unliquidated
          Chicago, IL 60607                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $637.49
          Root & Stem Catering & Events                                         Contingent
          2941 Fairview Park Drive #110                                         Unliquidated
          Falls Church, VA 22042                                                Disputed
          Date(s) debt was incurred 10/03/18-12/31/18
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,710.00
          Soldier Field/SMG                                                     Contingent
          1411 Museum Campus Drive Gate 14                                      Unliquidated
          Chicago, IL 60605                                                     Disputed
          Date(s) debt was incurred 01/11/19
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $10,000.00
          St. Christopher's Foundation for                                      Contingent
          Children Community Oral Health Init                                   Unliquidated
          1800 JFK Blvd., Suite 1550                                            Disputed
          Philadelphia, PA 19103
                                                                             Basis for the claim:
          Date(s) debt was incurred 12/31/18
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,248.74
          The Hartford                                                          Contingent
          P.O. Box 660916                                                       Unliquidated
          Dallas, TX 75266                                                      Disputed
          Date(s) debt was incurred      12/10/18-01/01/19                   Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,000.00
          The Research Foundation for the                                       Contingent
          State of New York                                                     Unliquidated
          P.O. Box 9                                                            Disputed
          Albany, NY 12201-0009
                                                                             Basis for the claim:
          Date(s) debt was incurred 07/10/18-08/03/18
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $11,247.50
          Titus Talent Strategies, LLC                                          Contingent
          P.O. Box 88941                                                        Unliquidated
          Milwaukee, WI 53288-0942                                              Disputed
          Date(s) debt was incurred 06/30/18-09/07/18
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,440.88
          United States Postal Service                                          Contingent
          PO Box 4330                                                           Unliquidated
          Chicago, IL 60680-4330                                                Disputed
          Date(s) debt was incurred 10/15/18
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $9,000.00
          University Hospitals Cleveland Med                                    Contingent
          Rainbow Babies & Childrens Hospital                                   Unliquidated
          11100 Euclid Ave., M/S MCCO-5062                                      Disputed
          Cleveland, OH 44106
                                                                             Basis for the claim:
          Date(s) debt was incurred 10/22/18-11/01/18
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $10,000.00
          University Hospitals Health System                                    Contingent
          RB&CH - 11100 Euclid Avenue                                           Unliquidated
          Mailstop MCCO-5062                                                    Disputed
          Cleveland, OH 44106
                                                                             Basis for the claim:
          Date(s) debt was incurred 12/31/18
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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              Name

 3.61      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $5,674.12
           Vern Broders                                                         Contingent
           1434 N. Astor Street                                                 Unliquidated
           Chicago, IL 60610                                                    Disputed
           Date(s) debt was incurred     09/26/18-12/30/19                   Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.62      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $32.43
           Veronica Wellons                                                     Contingent
           9041 S. Harvard                                                      Unliquidated
           Chicago, IL 60620                                                    Disputed
           Date(s) debt was incurred     10/26/18                            Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.63      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $272.00
           Wagenmaker & Oberly                                                  Contingent
           53 W. Jackson Blvd., Suite 1734                                      Unliquidated
           Chicago, IL 60604                                                    Disputed
           Date(s) debt was incurred 10/31/18-12/03/18
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.64      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $57.60
           Worldwide Express                                                    Contingent
           29228 Network Place                                                  Unliquidated
           Chicago, IL 60673                                                    Disputed
           Date(s) debt was incurred     01/09/19-01/16/19                   Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                      related creditor (if any) listed?                account number, if
                                                                                                                                                       any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                             0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                       950,998.00

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                          950,998.00




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 10 of 10
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 Fill in this information to identify the case:

 Debtor name         Oral Health America

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.1.        State what the contract or                   Supplier: Impact
             lease is for and the nature of               Networking LLC
             the debtor's interest                        13875 W. Boulton Blvd
                                                          Lake Forest, IL 60045
                  State the term remaining                Until January 31, 2022       Konica/Minolta
                                                                                       DLL Financial Services
             List the contract number of any                                           PO Box 41602
                   government contract                                                 Philadelphia, PA 19101-1602


 2.2.        State what the contract or
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Until May 31, 2023           Michigan - 180 Property LLC
                                                                                       c/o Marc Realty
             List the contract number of any                                           75 Remittance Drive, Suite 1852
                   government contract                                                 Chicago, IL 60675-1852




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Oral Health America

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Oral Health America

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)
                                                                                                                                     Check if this is an
                                                                                                                                     amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                   04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                    Gross revenue
       which may be a calendar year                                                            Check all that apply                  (before deductions and
                                                                                                                                     exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                    $0.00
       From 1/01/2020 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                                    $0.00
       From 1/01/2019 to 12/31/2019
                                                                                                   Other


       For year before that:                                                                       Operating a business                       $1,828,552.00
       From 1/01/2018 to 12/31/2018
                                                                                                   Other


       For the fiscal year:                                                                        Operating a business                       $2,542,708.00
       From 1/01/2017 to 12/31/2017
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue     Gross revenue from
                                                                                                                                     each source
                                                                                                                                     (before deductions and
                                                                                                                                     exclusions)

       From the beginning of the fiscal year to filing date:
       From 1/01/2020 to Filing Date                                                           Investment Income                                           $0.00


       For prior year:
       From 1/01/2019 to 12/31/2019                                                            Investment Income                                  $90,921.00




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                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)
       For year before that:
       From 1/01/2018 to 12/31/2018                                                            Investment Income                                    $-120,688.00


       For the fiscal year:
       From 1/01/2017 to 12/31/2017                                                            Investment Income                                      $51,718.00


 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               Vern Broders                                                11/1/2019                          $9,555.00          Secured debt
               1434 N Astor St                                                                                                   Unsecured loan repayments
               Chicago, IL 60610                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Accounting Services


       3.2.
               ADP Payroll Fees                                            11/1/2019                              $49.95         Secured debt
               209 W Jackson Blvd                                                                                                Unsecured loan repayments
               Chicago, IL 60606                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Payroll servicces
                                                                                                                               maintenance

       3.3.
               ADP Payroll Fees                                            11/1/2019                              $91.31         Secured debt
               209 W Jackson Blvd                                                                                                Unsecured loan repayments
               Chicago, IL 60606                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Payroll servicces
                                                                                                                               maintenance

       3.4.
               Bankcard Monthly Fees                                       11/4/2019                              $10.00         Secured debt
               1573 S Telegraph Rd                                                                                               Unsecured loan repayments
               Bloomfield Hills, MI 48302                                                                                        Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Credit card merchant
                                                                                                                               account maintenance

       3.5.
               Bankcard Monthly Fees                                       11/5/2019                              $24.95         Secured debt
               1573 S Telegraph Rd                                                                                               Unsecured loan repayments
               Bloomfield Hills, MI 48302                                                                                        Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Credit card merchant
                                                                                                                               account maintenance



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       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.6.
               Account Analysis Settlement Charge                          11/15/2019                           $159.07          Secured debt
               10 S Dearborn St                                                                                                  Unsecured loan repayments
               Chicago, IL 60603                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Chase Bank Monthly
                                                                                                                               Bank Fees

       3.7.
               ADP Payroll Fees                                            11/29/2019                             $49.95         Secured debt
               209 W Jackson Blvd                                                                                                Unsecured loan repayments
               Chicago, IL 60606                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Payroll servicces
                                                                                                                               maintenance

       3.8.
               Bankcard Monthly Fees                                       12/2/2019                              $10.00         Secured debt
               1573 S Telegraph Rd                                                                                               Unsecured loan repayments
               Bloomfield Hills, MI 48302                                                                                        Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Credit card merchant
                                                                                                                               account maintenance

       3.9.
               Merchant BankCard Fees                                      12/3/2019                              $24.95         Secured debt
               Blackbaud Merchant Services                                                                                       Unsecured loan repayments
               2000 Daniel Island Drive                                                                                          Suppliers or vendors
               Charleston, SC 29492-7541                                                                                         Services
                                                                                                                                 Other Credit card merchant
                                                                                                                               account maintenance

       3.10
       .
            ADP Payroll Fees                                               12/6/2019                              $96.33         Secured debt
               209 W Jackson Blvd                                                                                                Unsecured loan repayments
               Chicago, IL 60606                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Payroll servicces
                                                                                                                               maintenance

       3.11
       .
            Account Analysis Settlement Charge                             12/16/2019                           $156.70          Secured debt
               10 S Dearborn St                                                                                                  Unsecured loan repayments
               Chicago, IL 60603                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Chase Bank Monthly
                                                                                                                               Bank Fees

       3.12
       .
            Bankcard Monthly Fees                                          1/2/2020                               $10.00         Secured debt
               Bloomfield Hills, MI 48302                                                                                        Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Credit card merchant
                                                                                                                               account maintenance




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       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.13
       .
            ADP Payroll Fees                                               1/3/2020                               $49.95              Secured debt
               209 W. Jackson Blvd.                                                                                                   Unsecured loan repayments
               Chicago, IL 60606                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                   Other Payroll Services
                                                                                                                                 Maintenance

       3.14
       .
            Merchant BankCard Fees                                         1/3/2020                                $0.00              Secured debt
               Blackbaud Merchant Services                                                                                            Unsecured loan repayments
               2000 Daniel Island Drive                                                                                               Suppliers or vendors
               Charleston, SC 29492-7541                                                                                              Services
                                                                                                                                      Other 24.95


       3.15
       .
            Returned Check                                                 1/10/2020                            $100.00               Secured debt
                                                                                                                                      Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                   Other Returned Donation
                                                                                                                                 deposited by mistake

       3.16
       .
            Account Analysis Settlement Charge                                                                  $155.38               Secured debt
               10 S. Dearborn St.                                                                                                     Unsecured loan repayments
               Chicago, IL 60603                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other Chase Bank Monthly
                                                                                                                                 Fee

       3.17
       .
            Vern Broders                                                   1/28/2020                        $11,849.88                Secured debt
               1434 N Astor Street                                                                                                    Unsecured loan repayments
               Chicago, IL 60610                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other Accounting Services



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property




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       Creditor's name and address                               Describe of the Property                                      Date                  Value of property

       Michigan - 180 Property LLC                               Miscellaneous office equipment.                                                              Unknown
       c/o Marc Realty
       75 Remittance Drive, Suite 1852
       Chicago, IL 60675-1852


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                   Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case               Court or agency's name and                Status of case
               Case number                                                                    address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                             Value

       9.1.    See Attachment                                                                                               1/26/18 -
                                                                 Charitable Grants
                                                                                                                            12/31/18                      $899,100.00

               Recipients relationship to debtor




 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss            Value of property
       how the loss occurred                                                                                                                                      lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 5
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 Debtor        Oral Health America                                                                       Case number (if known)




11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

                Who was paid or who received                         If not money, describe any property transferred           Dates           Total amount or
                the transfer?                                                                                                                           value
                Address
       11.1.    Fox Swibel Levin & Carroll
                LLP
                200 W. Madison St.
                Suite 3000
                Chicago, IL 60606                                                                                              1/25/2019             $27,000.00

                Email or website address
                foxswibel.com

                Who made the payment, if not debtor?




       11.2.    Wagenmaker & Oberly
                53 W. Jackson Blvd., Suite
                1734
                Chicago, IL 60604                                                                                              1/28/2019             $15,000.00

                Email or website address
                wagenmakerlaw.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

       Name of trust or device                                       Describe any property transferred                Dates transfers          Total amount or
                                                                                                                      were made                         value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

               Who received transfer?                            Description of property transferred or                  Date transfer         Total amount or
               Address                                           payments received or debts paid in exchange             was made                       value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply




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                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services          If debtor provides meals
                                                                 the debtor provides                                                   and housing, number of
                                                                                                                                       patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

                  Donor List
                  Does the debtor have a privacy policy about that information?
                      No
                      Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                       Yes. Fill in below:

 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred
       18.1.     Chase Bank                                      XXXX-1008                   Checking                 February 12,                 $870,597.61
                 10 N. Dearborn St.                                                          Savings                  2019
                 Chicago, IL 60603                                                           Money Market
                                                                                             Brokerage


                                                                                          Other Investment
                                                                                          account


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.

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          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
       Extra Space Storage                                           Wagenmaker & Oberly                  Archive records prior to 2019           No
       Chicago-West Harrison                                         53 W. Jackson Blvd,                                                          Yes
       707 W. Harrison St                                            Suite 1734
       Chicago, IL 60607                                             Chicago, IL 60606



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None

       Owner's name and address                                      Location of the property             Describe the property                            Value
       International Association of Student                          Held at Chase Bank; see              Funds donated and held in               $182,843.00
       Clinicians American Dental Association                        (*) note at next                     connection with SCADA
       PO Box 872                                                                                         awards;
       York, PA 17405-0872
                                                                                                          *SCADA claims that these are
                                                                                                          held in trust for SCADA
                                                                                                          awards


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?



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            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Vern Broders                                                                                                               2013 to 2019
                    1434 N. Astor Street
                    Chicago, IL 60610

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Legacy Professionals LLP                                                                                                   2014 to 2019
                    4 Westbrook Corporate Center
                    Suite 700
                    Westchester, IL 60154
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.2.       Andrea Wright, CPA                                                                                                         August 19, 2019
                    c/o JohnsonLambert LLP
                    250 S Northwest Hwy
                    Ste 340
                    Park Ridge, IL 60068

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why



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       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Paul Winters
                    c/o Wagenmaker & Oberly, LLC
                    53 W Jackson Blvd
                    Ste 1734
                    Chicago, IL 60604

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       Chase Bank
                    10 N. Dearborn St.
                    Chicago, IL 60603
       26d.2.       Department of the Treasury
                    Internal Revenue Service
                    Ogden, UT 84201-0027
       26d.3.       State of Arkansas
                    Office of the Attorney General
                    323 Center
                    Suite 200
                    Little Rock, AR 72201
       26d.4.       State of California, Dept. of Justice
                    Registry of Charitable Trusts
                    P.O. Box 903447
                    Sacramento, CA 94203-4470
       26d.5.       State of Connecticut, Dept. of Consumer
                    Protection-Public Charities
                    165 Capitol Ave
                    Hartford, CT 06106-1630
       26d.6.       State of Florida, Dept. of Agriculture
                    & Consumer Services
                    407 S. Calhoun St. First Floor
                    Tallahassee, FL 32399-0800
       26d.7.       State of Hawaii
                    Dept. of the Attorney General
                    42S Queen St
                    Honolulu, HI 96813
       26d.8.       State of Illinois, Attorney General
                    Illinois Charity Bureau Fund
                    100 W. Randolph St., 11th Floor
                    Chicago, IL 60601-3175
       26d.9.       State of Kansas, Secretary of State
                    120 SW 10th Ave# 1
                    Topeka, KS 66612
       26d.10.      State of Kentucky - Atty General
                    700 Capitol Avenue, Suite 118
                    Frankfort, KY 40601-3449
       26d.11.      Commonwealth of Massachusetts
                    Office of the Attorney General
                    One Ashburton Pl ace
                    Boston, MA 02108
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       Name and address
       26d.12.      State of Michigan, Dept. of Atty General
                    525 W. Ottawa Street,
                    P.O. Box 30212
                    Lansing, MI 48909
       26d.13.      State of Minnesota
                    Atty General - Charities Division
                    445 Minnesota St., Suite 1200
                    Saint Paul, MN 55101-2130
       26d.14.      State of North Carolina
                    Secretary of State, Charitable Licensing
                    P.O. Box 29622
                    Raleigh, NC 27626-0622
       26d.15.      State of Oregon
                    Charitable Activities Section
                    1515 SW 5th Ave., Suite 410
                    Portland, OR 97201-5451
       26d.16.      State of South Carolina
                    Secretary of State
                    Edgar Brown Building
                    1205 Pendleton Street Suite 525
                    Columbia, SC 29201
       26d.17.      Virginia Department of Agriculture
                    and Consumer Services
                    P.O. Box 526
                    Richmond, VA 23218-0526
       26d.18.      State of West Virginia
                    Secretary of State
                    The State Capitol, Suite 157-K
                    1900 Kanawha Blvd., East
                    Charleston, WV 25305
       26d.19.      State of Wisconsin
                    Division of Banking
                    P.O. Box 7876
                    Madison, WI 53707-7876

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       See Attachment




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


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            No
            Yes. Identify below.

       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       See Attachment



30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1 See Attachment
       .

               Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation
    403 (B) Thrift Plan of Oral Health America, America S Fund For Dental                                      EIN:        XX-XXXXXXX
    Health




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 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         February 14, 2020

 /s/ Fotinos Panagakos                                                  Fotinos Panagakos
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Treasurer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
  No
   Yes




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                            Doc Board Members
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Addendum to Form 207-Q.30 - Payments, distributions, or withdrawals credited or given to insiders


                                                                                                     Out-of-Pocket
                                                                                         Payroll
                                                                                                          Expense
                                                                                       1/1/2019 to                         Total
                                                                                                           Reim-
                                                                                       12/31/2019
                                                                                                         bursements

Beth Truett   927 N Oak Park Ave, Oak Park IL 60302                                   $ 26,438.15             $296.87 $    26,735.02
 President & CEO

Vern Broders 1434 N Astor St, Chicago IL 60610                                        $ 31,076.23    $     33,939.10   $   65,015.33
Director of Finance & Business Administration


Date          Description                                                             Amount         Pay Type


Beth Truett
    2/4/2019 Reimb . - Trip to Present to Delta Dental Plans Assoc 1/13 - 1/15/2019          $71.87 Check 20606
   2/21/2019 Refund OHA Flexible Spending Plan Withholding January 2019                     $225 .00 Check 15403
                                                                                            $296.87
Vern Broders
  2/21/2019 Refund OHA Flexible Spending Plan Withholding January 2019                $     225.00   Check 15400
   2/27 /2019 Reimb . - OHA expenses on VB personal credit card                       $ 2, 781.20    Check 15405
   3/25/2019 Accounting Services : Independent Contractor                             $ 2,407.21     ACH_PAYMENT
   4/24/2019 Accounting Services : Independent Contractor                             $ 4,811.54     ACH_PAYMENT
   5/20/2019 Accounting Services : Independent Contractor                             $ 1,888.13     ACH_PAYMENT
   8/27 /2019 Accounting Services : Independent Contractor                            $ 3,022.50     ACH_PAYMENT
   11/1/2019 Accounting Services : Independent Contractor                             $ 9,555 .00    ACH_PAYMENT
  1/28/2020 Accounting Services : Independent Contractor                              $ 11,848.88    ACH_PAYMENT


                                                                                      $ 36,539.46
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Northern District of Illinois
 In re       Oral Health America                                                                              Case No.
                                                                                 Debtor(s)                    Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 27,000.00
             Prior to the filing of this statement I have received                                        $                 22,282.72
             Balance Due                                                                                  $                     4,717.28

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 See attached addendum.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               N/A
                                                                          CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     February 14, 2020                                                           /s/ N. Neville Reid
     Date                                                                        N. Neville Reid
                                                                                 Signature of Attorney
                                                                                 Fox Swibel Levin & Carroll LLP
                                                                                 200 W. Madison St.
                                                                                 Suite 3000
                                                                                 Chicago, IL 60606
                                                                                 (312) 224-1200
                                                                                 nreid@foxswibel.com
                                                                                 Name of law firm




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Addendum to Form 2030 Compensation Statement of Attorney for the Debtor:


Fox Swibel Levin & Carroll LLP was retained to provide general restructuring and related legal
advice, beyond mere preparation of a bankruptcy petition. Accordingly, the retainer amount
shown here was applied to all such legal services provided and not just for preparation of
the petition and schedules herein.
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                                                               United States Bankruptcy Court
                                                                     Northern District of Illinois
 In re      Oral Health America                                                                         Case No.
                                                                                  Debtor(s)             Chapter    7




                                                     VERIFICATION OF CREDITOR MATRIX

                                                                                        Number of Creditors:                                 67




            The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my
            (our) knowledge.




 Date:       February 14, 2020                                         /s/ Fotinos Panagakos
                                                                       Fotinos Panagakos/Treasurer
                                                                       Signer/Title




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                      A.G. Kaffes & Associates LLC
                      1909 Q Street NW, Suite 400
                      Washington, DC 20009


                      Arizona Board of Regents, Universit
                      Cochise Cty. Cooperative Extension
                      1140 N. Colombo Ave.
                      Sierra Vista, AZ 85635


                      Arkadin, Inc.
                      Attn: Accounts Receivable
                      P.O. Box 347261
                      Pittsburgh, PA 15251


                      Better Business Bureau
                      330 N. Wabash Ave. Ste. 3120
                      Chicago, IL 60611


                      Blackbaud, Inc.
                      P.O. Box 930256
                      Atlanta, GA 31193


                      Board of Regents NSHE
                      4505 Maryland Parkway, Box 451055
                      Las Vegas, NV 89155


                      Chase Bank
                      10 N. Dearborn St.
                      Chicago, IL 60603


                      Child Care Exchange
                      Dimensions Educational Research Fdn
                      7700 A Street
                      Lincoln, NE 68510


                      Children's Dental Services
                      636 Broadway St. , NE
                      Minneapolis, MN 55413


                      Children's Leadership Council
                      1200 18th ST. NW Suite 400
                      Washington, DC 20036
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                  Collier Health Services Inc.,
                  BDA Healthcare Network of SWFL
                  3555 Kraft Road, Suite 100
                  Naples, FL 34105


                  Comcast
                  P.O. Box 3001
                  Southeastern, PA 19398-3001


                  Crescendo Interactive, Inc.
                  110 Camino Ruiz
                  Camarillo, CA 93012


                  CT Corporation
                  P.O. Box 4349
                  Carol Stream, IL 60197


                  Cyndi Schu
                  5633 N. Prospect Ave.
                  Chicago, IL 60631


                  De Lage Landen Financial Services
                  P.O. Box 41602
                  Philadelphia, PA 19101-1602


                  DiMeo Schneider & Asscociates, LLC
                  Attn: Accounts Receviable
                  500 W. Madison St., Suite 1700
                  Chicago, IL 60661


                  Entara Corporation
                  190 S. LaSalle St., Suite 3800
                  Chicago, IL 60603


                  Euclid Managers
                  234 Spring Lake Drive
                  Itasca, IL 60143


                  Frost Chicago
                  830 W. 40th Street
                  Chicago, IL 60609


                  Future Smiles
                  3074 Arville Street
                  Las Vegas, NV 89102
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                  Healthy Smiles Mobile
                  Dental Foundation
                  4186 West Swift Ave., #108
                  Fresno, CA 93722


                  Illinois Attorney General
                  100 West Randolph Street
                  Chicago, IL 60601


                  Innovative Neworks LLC
                  55 East Jackson Blvd. Ste 415
                  Chicago, IL 60604


                  iWave
                  28 Hillstrom Avenue
                  Charlottetown, PE
                  Canada C1E 2C5


                  Key Analytics and Consulting, LLC
                  P.O. Box 357724
                  Gainesville, FL 32635


                  Kids Smiles, Inc.
                  512 Township Line Road
                  3 Valley Square Suite 301
                  Blue Bell, PA 19422


                  Kids Smiles, Inc.
                  512 Township Line Road
                  3 Valley Square Suite 301
                  Blue Bell, PA 19422


                  KinderSmile Foundation
                  10 Broad Street
                  Bloomfield, NJ 07003


                  Konica/Minolta
                  DLL Financial Services
                  PO Box 41602
                  Philadelphia, PA 19101-1602


                  Liz Kelly
                  3647 N. Bosworth Ave.
                  Chicago, IL 60613
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                  Lori Gross
                  9725 S. Pulaski Rd.
                  Evergreen Park, IL 60805


                  Marketing for Change Co.
                  117 S. Gadsden Street
                  Tallahassee, FL 32301


                  Matthew Warren
                  5410 W. Main St.
                  P.O. Box 261
                  Monee, IL 60449


                  Metropolitan Area Agency on Aging
                  2365 North McKnight Road
                  Saint Paul, MN 55109


                  Michigan - 180 Property LLC
                  c/o Marc Realty
                  75 Remittance Drive, Suite 1852
                  Chicago, IL 60675-1852


                  Michigan - 180 Property LLC
                  c/o Marc Realty
                  75 Remittance Drive, Suite 1852
                  Chicago, IL 60675-1852


                  Morgan Birge & Associates, Inc.
                  119 West Hubbard Street, Suite 4W
                  Chicago, IL 60654


                  Oral Health Forum
                  P.O. Box 35129
                  Elmwood Park, IL 60707


                  Paramount Technologies, Inc.
                  1374 East West Maples Road
                  Walled Lake, MI 48390-3765


                  Pitney Bowes
                  Global Financial Services LLC
                  P.O. Box 371887
                  Pittsburgh, PA 15250-7887
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                  Prairie State College, Dental Hygie
                  202 S. Halsted Street
                  Chicago Heights, IL 60411


                  Premier Print Group
                  3104 Farber Drive
                  Champaign, IL 61822


                  ReadyRefresh by Nestle
                  P.O. Box 856680
                  Louisville, KY 40285


                  Reliance Standard Life Insurance Co
                  P.O. Box 3124
                  Southeastern, PA 19398-3125


                  RMHC of Bismarck, ND
                  Care Mobile of North Dakota
                  P.O. Box 7323
                  Bismarck, ND 58507


                  Ronald McDonald House
                  Charities of Arkansas
                  1501 W. 10th St.
                  Little Rock, AR 72202


                  Ronald McDonald House
                  Charities Bay Area
                  520 Sand Hill Road
                  Palo Alto, CA 94304


                  Ronald McDonald House
                  Charities in Omaha, Inc.
                  620 South 38th Avenue
                  Omaha, NE 68105


                  Ronald McDonald House
                  Charities of Eastern New England
                  3 Industrial Drive, Unit 6
                  Windham, NH 03087


                  Ronald McDonald House
                  Charities of Greater Las Vegas
                  2323 Postosi Street
                  Las Vegas, NV 89146
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                  Ronald McDonald House
                  Charities of Greater Houston/Galves
                  2525 Robinhood, Suite 1100
                  Houston, TX 77005


                  Ronald McDonald House
                  Charities Burlington, VT
                  16 South Winooski Avenue
                  Burlington, VT 05401


                  Ronald McDonald House Charities
                  110 N. Carpenter St.
                  Chicago, IL 60607


                  Root & Stem Catering & Events
                  2941 Fairview Park Drive #110
                  Falls Church, VA 22042


                  Soldier Field/SMG
                  1411 Museum Campus Drive Gate 14
                  Chicago, IL 60605


                  St. Christopher's Foundation for
                  Children Community Oral Health Init
                  1800 JFK Blvd., Suite 1550
                  Philadelphia, PA 19103


                  The Hartford
                  P.O. Box 660916
                  Dallas, TX 75266


                  The Research Foundation for the
                  State of New York
                  P.O. Box 9
                  Albany, NY 12201-0009


                  Titus Talent Strategies, LLC
                  P.O. Box 88941
                  Milwaukee, WI 53288-0942


                  United States Postal Service
                  PO Box 4330
                  Chicago, IL 60680-4330
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                  University Hospitals Cleveland Med
                  Rainbow Babies & Childrens Hospital
                  11100 Euclid Ave., M/S MCCO-5062
                  Cleveland, OH 44106


                  University Hospitals Health System
                  RB&CH - 11100 Euclid Avenue
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                  Cleveland, OH 44106


                  Vern Broders
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                  Veronica Wellons
                  9041 S. Harvard
                  Chicago, IL 60620


                  Wagenmaker & Oberly
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                  Chicago, IL 60604


                  Worldwide Express
                  29228 Network Place
                  Chicago, IL 60673
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                                                               United States Bankruptcy Court
                                                                     Northern District of Illinois
 In re      Oral Health America                                                                          Case No.
                                                                                   Debtor(s)             Chapter    7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Oral Health America in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 February 14, 2020                                                   /s/ N. Neville Reid
 Date                                                                N. Neville Reid
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Oral Health America
                                                                     Fox Swibel Levin & Carroll LLP
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